                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


LUIS C. VERDECIAS,

       Plaintiff,
                                                       Case No. 20-CV-1776
v.

BSI FINANCIAL SERVICES INC.,

       Defendant.



                                 PROTECTIVE ORDER


       Based on the Stipulation of the parties and the factual representations set forth

therein, the Court finds that exchange of sensitive information between or among the parties

and/or third parties other than in accordance with this Order may cause unnecessary

damage and injury to the parties or to others. The Court further finds that the terms of this

Order are fair and just and that good cause has been shown for entry of a protective order

governing the confidentiality of documents produced in discovery, answers to

interrogatories, answers to requests for admission, and deposition testimony.

       IT IS THEREFORE ORDERED THAT, pursuant to Fed. R. Civ. P. 26(c) and

Civil L. R. 26(e):

       (A) DESIGNATION OF CONFIDENTIAL OR ATTORNEYS’ EYES ONLY

INFORMATION. Designation of information under this Order must be made by placing

or affixing on the document or material, in a manner that will not interfere with its

legibility, the words “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”




          Case 2:20-cv-01776-NJ Filed 10/04/21 Page 1 of 8 Document 21
       (1) One who produces information, documents, or other material may

designate them as “CONFIDENTIAL” when the person in good faith believes they

contain trade secrets or nonpublic confidential technical, commercial, financial,

personal, or business information.

       (2) One who produces information, documents, or other material may

designate them as “ATTORNEYS’ EYES ONLY” when the person in good faith

believes that they contain particularly sensitive trade secrets or other nonpublic

confidential technical, commercial, financial, personal, or business information that

requires protection beyond that afforded by a CONFIDENTIAL designation.

       (3) Except for information, documents, or other materials produced for

inspection at the party’s facilities, the designation of confidential information as

CONFIDENTIAL or ATTORNEYS’ EYES ONLY must be made prior to, or

contemporaneously with, their production or disclosure. In the event that

information, documents or other materials are produced for inspection at the party’s

facilities, such information, documents, or other materials may be produced for

inspection before being marked confidential. Once specific information, documents,

or other materials have been designated for copying, any information, documents, or

other materials containing confidential information will then be marked confidential

after copying but before delivery to the party who inspected and designated them.

There will be no waiver of confidentiality by the inspection of confidential

information, documents, or other materials before they are copied and marked

confidential pursuant to this procedure.




                                       2

   Case 2:20-cv-01776-NJ Filed 10/04/21 Page 2 of 8 Document 21
              (4) Portions of depositions of a party’s present and former officers, directors,

       employees, agents, experts, and representatives will be deemed confidential only if

       designated as such when the deposition is taken or within 30 days of receipt of the

       deposition transcript.

              (5) If a party inadvertently produces information, documents, or other

       material   containing    CONFIDENTIAL          or   ATTORNEYS’         EYES     ONLY

       information without marking or labeling it as such, the information, documents, or

       other material shall not lose its protected status through such production and the

       parties shall take all steps reasonably required to assure its continued confidentiality

       if the producing party provides written notice to the receiving party within 10 days of

       the discovery of the inadvertent production, identifying the information, document

       or other material in question and of the corrected confidential designation.

       (B) DISCLOSURE AND USE OF CONFIDENTIAL INFORMATION.

Information, documents, or other material designated as CONFIDENTIAL OR

ATTORNEYS’ EYES ONLY under this Order must not be used or disclosed by the parties

or counsel for the parties or any persons identified in subparagraphs (B)(1) and (2) below for

any purposes whatsoever other than preparing for and conducting the litigation in which the

information, documents, or other material were disclosed (including appeals). The parties

must not disclose information, documents, or other material designated as confidential to

putative class members not named as plaintiffs in putative class litigation unless and until

one or more classes have been certified. Nothing in this Order prohibits a receiving party

that is a government agency from following its routine uses and sharing such information,




                                              3

          Case 2:20-cv-01776-NJ Filed 10/04/21 Page 3 of 8 Document 21
documents or other material with other government agencies or self-regulatory

organizations as allowed by law.

             (1) CONFIDENTIAL INFORMATION. The parties and counsel for the

      parties must not disclose or permit the disclosure of any information, documents or

      other material designated as “CONFIDENTIAL” by any other party or third party

      under this Order, except that disclosures may be made in the following

      circumstances:

                    (a) Disclosure may be made to employees of counsel for the parties or,

             when the party is a government entity, employees of the government, who

             have direct functional responsibility for the preparation and trial of the

             lawsuit. Any such employee to whom counsel for the parties makes a

             disclosure must be advised of, and become subject to, the provisions of this

             Order requiring that the information, documents, or other material be held in

             confidence.

                    (b) Disclosure may be made only to employees of a party required in

             good faith to provide assistance in the conduct of the litigation in which the

             information was disclosed who are identified as such in writing to counsel for

             the other parties in advance of the disclosure of the confidential information,

             documents or other material.

                    (c) Disclosure may be made to court reporters engaged for depositions

             and those persons, if any, specifically engaged for the limited purpose of

             making copies of documents or other material. Before disclosure to any such




                                            4

         Case 2:20-cv-01776-NJ Filed 10/04/21 Page 4 of 8 Document 21
       court reporter or person engaged in making copies, such reporter or person

       must agree to be bound by the terms ofthis Order.

              (d) Disclosure may be made to consultants, investigators, or experts

       (collectively “experts”) employed by the parties or counsel for the parties to

       assist in the preparation and trial of the lawsuit. Before disclosure to any

       expert, the expert must be informed of and agree to be subject to the

       provisions of this Order requiring that the information, documents, or other

       material be held in confidence.

              (e) Disclosure may be made to deposition and trial witnesses in

       connection with their testimony in the lawsuit and to the Court and the

       Court’s staff.

              (f) Disclosure may be made to persons already in lawful and legitimate

       possession of such CONFIDENTIAL information.

       (2) ATTORNEYS’ EYES ONLY INFORMATION. The parties and counsel

for the parties must not disclose or permit the disclosure of any information,

documents, or other material designated as “ATTORNEYS’ EYES ONLY” by any

other party or third party under this Order to any other person or entity, except that

disclosures may be made in the following circumstances:

              (a) Disclosure may be made to counsel and employees of counsel for

       the parties who have direct functional responsibility for the preparation and

       trial of the lawsuit. Any such employee to whom counsel for the parties

       makes a disclosure must be advised of, and become subject to, the provisions




                                         5

   Case 2:20-cv-01776-NJ Filed 10/04/21 Page 5 of 8 Document 21
               of this Order requiring that the information, documents, or other material be

               held in confidence.

                      (b) Disclosure may be made to court reporters engaged for depositions

               and those persons, if any, specifically engaged for the limited purpose of

               making copies of documents or other material. Before disclosure to any such

               court reporter or person engaged in making copies, such reporter or person

               must agree to be bound by the terms of this Order.

                      (c) Disclosure may be made to consultants, investigators, or experts

               (collectively “experts”) employed by the parties or counsel for the parties to

               assist in the preparation and trial of the lawsuit. Before disclosure to any

               expert, the expert must be informed of and agree to be subject to the

               provisions of this Order requiring that the information, documents, or other

               material be held in confidence.

                      (d) Disclosure may be made to deposition and trial witnesses in

               connection with their testimony in the lawsuit and to the Court and the

               Court’s staff.

                      (e) Disclosure may be made to persons already in lawful and legitimate

               possession of such ATTORNEYS’ EYES ONLY information.

       (C) MAINTENANCE OF CONFIDENTIALITY. Except as provided in

subparagraph (B), counsel for the parties must keep all information, documents, or other

material designated as confidential that are received under this Order secure within their

exclusive possession and must place such information, documents, or other material in a

secure area.


                                                 6

          Case 2:20-cv-01776-NJ Filed 10/04/21 Page 6 of 8 Document 21
               (1) All copies, duplicates, extracts, summaries, or descriptions\ (hereinafter

       referred to collectively as “copies”) of information, documents, or other material

       designated as confidential under this Order, or any portion thereof, must be

       immediately affixed with the words “CONFIDENTIAL” or “ATTORNEYS’ EYES

       ONLY” if not already containing that designation.

               (2) To the extent that any answers to interrogatories, transcripts of

       depositions, responses to requests for admissions, or any other papers filed or

       (D) CHALLENGES TO CONFIDENTIALITY DESIGNATION. A party may

challenge the designation of confidentiality by motion. The movant must accompany such a

motion with the statement required by Civil L. R. 37. The designating party bears the

burden of proving that the information, documents, or other material at issue are properly

designated as confidential. The Court may award the party prevailing on any such motion

actual attorney fees and costs attributable to the motion.

       (E) CONCLUSION OF LITIGATION. At the conclusion of the litigation, a party

may request that all information, documents, or other material not filed with the Court or

received into evidence and designated as CONFIDENTIAL or ATTORNEYS’ EYES

ONLY under this Order must be returned to the originating party or, if the parties so

stipulate, destroyed, unless otherwise provided by law. Notwithstanding the requirements of

this paragraph, a party may retain a complete set of all documents filed with the Court,

subject to all other restrictions of this Order.



       Dated at Milwaukee, Wisconsin this 4th day of October, 2021.




                                                   7

           Case 2:20-cv-01776-NJ Filed 10/04/21 Page 7 of 8 Document 21
                                 BY THE COURT



                                 __
                                  ___
                                    _ _______
                                           _ ______
                                                 _ __________
                                 ________________________
                                 NANCY  Y JJOSEPH
                                            OSE
                                            OS SEPH
                                 United States Magistrate Judge




                             8

Case 2:20-cv-01776-NJ Filed 10/04/21 Page 8 of 8 Document 21
